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                                          October 19, 2020                                         10/20/2020



Honorable Barbara Moses
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

            Re:   Pruter v. Local 210, Int’l Bhd. of Teamsters, et al., Case No. 15-cv-1153 (AT)

Dear Judge Moses:

             We write on behalf of defendant Local 210 concerning the settlement conference
presently scheduled for October 26. Following the parties’ joint report to Your Honor on
September 1 concerning the status of settlement discussions, the parties appeared for a status
conference before Judge Torres on September 17. During that conference, Judge Torres
postponed the trial date to February 8, 2021. Judge Torres also granted Local 210’s request to
file an early motion in limine to preclude plaintiffs from calling certain witnesses as part of their
liability case; any other motions in limine cannot be filed until December 14. Docket No. 124.

            The parties have made no further progress on settlement since the joint report to Your
Honor on September 1. Local 210 anticipates that Judge Torres’ decision on the pending motion
in limine, as well as her decision on defendant’s prospective motion(s) in limine concerning the
damages available to plaintiffs, will give the parties greater clarity than they currently possess as
to their leverage at trial.

             Local 210 is appreciative of Your Honor’s efforts at the first settlement conference on
July 14 and is mindful that Your Honor agreed to oversee a second settlement conference only at
the parties’ request. We do not want to waste Your Honor’s time. Accordingly, Local 210
respectfully requests that the October 26 settlement conference be postponed until after such
time as Judge Torres has ruled on the pending and prospective motions in limine. This is Local
210’s first request to adjourn the settlement conference.

             On October 12, Local 210 advised plaintiffs by email that it intended to seek an
adjournment of the settlement conference for the reasons set forth in this letter, and sought
plaintiffs’ consent to file a joint letter requesting an adjournment. On October 14, plaintiffs




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      advised that they opposed any adjournment of the conference and would respond more fully
      later. To date, plaintiffs have not provided a reason for their opposition.

                  On October 16, Local 210 advised plaintiffs by email that, since there is no way to
      know when Judge Torres will rule on the current and anticipated motions in limine, it intended to
      ask Your Honor to reschedule the settlement conference for the weeks of January 11 or January
      18, 2021. Plaintiffs did not respond. On October 19, Local 210 again sought plaintiffs’
      availability for a conference the weeks of January 11 or January 18, 2021. To date, plaintiffs
      have not confirmed their availability during those weeks.

                Local 210 is available for a conference on any day during the weeks of January 11
      and January 18, 2021.

                                                          Respectfully submitted,

                                                          /s/ Kate M. Swearengen

                                                          Kate M. Swearengen


Application GRANTED. The settlement conference currently scheduled for October 26, 2020 from 2:15 to
4:15 p.m. shall take place on January 12, 2021 from 2:15 to 4:15 p.m. All other requirements of the Court's
Order Scheduling Settlement Conference (Dkt. No. 123) remain in effect. SO ORDERED.



__________________________________________________________________________
Barbara Moses, U.S.M.J.
October 20, 2020




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